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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

JANICE JACKSON, INDIVIDUALLY,   §
AND AS REPRESENTATIVE OF THE    §
ESTATE OF HER LATE HUSBAND,     §
MICHAEL WAYNE JACKSON; ARLENE §                                 Civil Action No. 4:23-cv-
GALLIEN, INDIVIDUALLY AND AS    §
REPRESENTATIVE OF THE ESTATE OF §
CARL WILEY JR.; CAMILA SIMPSON  §
AS NEXT FRIEND OF XXXXXXX,      §
XXXXX, GYNELL HENDERSON,        §
INDIVIDUALLY AND AS             §
REPRESENTATIVE OF THE ESTATE OF §
RASHAD HENDERSON; AND JOHN      §
HENDERSON JR., INDIVIDUALLY     §
                Plaintiffs,     §
                                §
v.                              §
                                §
THE CITY OF HOUSTON,            §
                Defendant.      §

                 DEFENDANT CITY OF HOUSTON’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       Defendant CITY OF HOUSTON (“City”) files this its Notice of Removal. In support of

said notice, the City would respectfully show the Court as follows:

                                         I.      Local Rule - 81

       1.        Pursuant to Local Rule 81 for the Southern District of Texas, attached are the

following:

             •   Exhibit 1: Plaintiff’s Original Petition filed in State Court Action.
             •   Exhibit 2: Copies of notices of receipt of service of process in the State Court
                 Action as of the date of this Notice of Removal.
             •   Exhibit 3: Copy of City of Houston’s Original Answer.
             •   Exhibit 4: Plaintiffs’ First Amended Petition filed in State Court Action.
             •   Exhibit 5: Copy of current docket sheet in the State Court Action.
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            •   Exhibit 6: Index of matters being filed.
            •   Exhibit 7: List of all parties of record.


                                 II.     STATE COURT ACTION

       2.       On or about August 9, 2022, Plaintiff, Janice Jackson, Individually and as

Representative of the Estate of her Late Husband, Michael Wayne Jackson, commenced a civil

action in the 113th Judicial District Court of Harris County, Texas, by filing a Plaintiff’s Original

Petition bearing the caption Janice Jackson, Individually and as Representative of the Estate of

her Late Husband, Michael Wayne Jackson v. the City of Houston. (Ex. 1.)

       3.       On December 16, 2022, Plaintiffs Janice Jackson, Individually and as

Representative of the Estate of her Late Husband, Michael Wayne Jackson; Arlene Gallien,

Individually and as Representative of the Estate of Carl Wiley Jr.; Camila Simpson as next front

of XXXXXXX XXXXX; Gynell Henderson, Individually and as Representative of the Estate of

Rashad Henderson; and John Henderson Jr., individually, filed a First Amended Petition raising

for the first time federal causes of action pursuant to 42 U.S.C. § 1983, 42 U.S.C. § 1982, and the

Fourteenth Amendment to the U.S. Constitution. (Ex. 4 pgs. 42-59.) Accordingly, the City

removes this case and invokes this Court’s federal question subject matter jurisdiction.

                               III.    GROUNDS FOR REMOVAL

Federal Question Jurisdiction

       4.       The district courts of the United States have original jurisdiction over this action on

the federal questions presented in Plaintiffs’ First Amended Petition; namely, the alleged violations

of 42 U.S.C. § 1983, the Fourteenth Amendment to the U.S. Constitution, and alleged violations

of 42 U.S.C. § 1982. (Ex. 4 pgs. 42-59.)

       5.       Original jurisdiction over such matters is conferred upon federal district courts by



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28 U.S.C. §1331, which states that “the district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws or treaties of the United States.” 28 U.S.C. §1331; see

also 28 U.S.C. §§1441(a)-(b), 1443. In addition to the original jurisdiction granted by 28 U.S.C.

§1331, the Court likewise has pendant jurisdiction over all of Plaintiffs’ state law claims pursuant

to 28 U.S.C. §1367. Therefore, removal of this action is proper.

Venue

        6.      Venue is proper in this district and division because the State Court Action is

pending in Harris County, Texas, which is located within the Southern District of Texas, Houston

Division. See 28 U.S.C.§1441(a). Venue is also proper in this district and division under 28 U.S.C.

§ 1443 because this is a civil action for an act under color of authority derived from a law providing

for equal rights and because Plaintiffs commenced this proceeding in a State court in this district

and division. Additionally, venue is proper in this district and division because a substantial part

of the events or omissions giving rise to Plaintiffs’ claims occurred, if at all, in this judicial district.

28 U.S.C. § 1391(b).

Removal is Timely

        7.      The City of Houston has 30 days after receipt of the initial pleading setting forth a

federal cause of action to file a notice of removal. See 28 U.S.C. §1446(b)(1); Caterpillar Inc. v.

Lewis, 519 U.S. 61, 68-69 (1996); Crockett v. R.J. Reynolds Tobacco Co., 436 F.3d 529, 532 (5th

Cir. 2006). The City was served with Plaintiff’s Original Petition on August 15, 2022 (Ex. 2.) and

received notification of the Plaintiffs’ First Amended Petition on December 16, 2022 (Ex. 4.). This

Notice of Removal is filed within 30 days of the City’s receipt of Plaintiffs’ First Amended Petition

which first set forth a federal cause of action and is therefore timely filed under 28 U.S.C.

§1446(b)(1).




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Consent Required

       8.      To Defendant’s knowledge, Plaintiffs have not properly served any other named

defendants therefore consent to removal is not required from any other named defendant. 28

U.S.C. § 1446(b)(2)(A). The City has fulfilled all procedural requirements to timely remove the

State Court Action.

Notice Given

       9.      Simultaneously with the filing of this removal, notice will be given to Plaintiffs and

all parties who have appeared via their attorneys of record, if any. Additionally, a copy of this

Notice of Removal will be filed with the Clerk of the District of Harris County, Texas in the State

Court Action under Cause #2022-48417.

                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant CITY OF HOUSTON pursuant

to these statutes and in conformance with the requirements of 28 U.S.C. §1446, removes this action

for trial from the 113th Judicial District Court of Harris County, Texas (Cause #2022-48417) to the

United States District Court for the Southern District of Texas, Houston Division.

                                                      Respectfully submitted,

                                                      ARTURO G. MICHEL
                                                      City Attorney

                                                      KELLY A. DEMPSEY
                                                      Chief, Torts & Civil Rights Section

Date: January 6, 2023.                        By:     /s/ Melissa Azadeh
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                                                      Houston, Texas 77002
                                                      ATTORNEYS FOR DEFENDANT
                                                      CITY OF HOUSTON



                                 CERTIFICATE OF SERVICE

       I certify that on January 6, 2023, pursuant to Federal Rules of Civil Procedure, a true and

correct copy of the foregoing document, and any attachments, were delivered to all opposing

counsel(s) by electronic filing of same in accordance with the District's ECF service rules, and

alternatively via e-mail and/or facsimile transmission, to:

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Co-counsel for Camila Simpson,
as next friend of XXXXXXX, XXXX
and Arlene Gallien



                                                      /s/ Melissa Azadeh
                                                      Melissa Azadeh




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